Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 1 of 16 PageID: 1




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


_________________________________________
                                          )
REPUBLIC FRANKLIN INSURANCE CO.,          )
                                          )
      Plaintiff,                          )                   CIVIL ACTION NO.
                                          )
v.                                        )
                                          )
TRAVELERS CASUALTY INSURANCE              )
COMPANY OF AMERICA,                       )
                                          )
      Defendant.                          )
__________________________________________)

                                          COMPLAINT

       The plaintiff, Republic Franklin Insurance Company (part of the Utica National Insurance

Group, and hereafter referred to as “Utica”), by way of Complaint against the defendant

Travelers Casualty Insurance Company of America (“Travelers”), states and alleges as follows.

                                         INTRODUCTION

       1.      Utica and Travelers each issued one or more policies of liability insurance to the

same insured, The Borden-Perlman Insurance Agency, Inc. (“B-P”), a New Jersey corporation.

On May 31, 2013, B-P was sued by Orchestrate HR, Inc. for defamation and other claims

(“Underlying Litigation”). The Underlying Litigation triggered coverage under both Utica’s and

Travelers’ policies, thereby requiring each insurer to provide B-P with a defense and indemnity.

Travelers, however, wrongly refused to provide B-P with a defense or indemnity of the

Underlying Litigation. Utica, by contrast, fully satisfied its obligations to B-P, incurring

significant defense costs and making a large indemnity payment to settle the Underlying

Litigation on behalf of the parties’ common insured, B-P. Despite demand which has been and is
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 2 of 16 PageID: 2




hereby made, Travelers wrongfully refuses to reimburse Utica any portion of the defense costs

and indemnity payments that Utica incurred and made on behalf of B-P. Utica files this action

seeking, among other things, a declaration that Travelers had a duty to defend and indemnify B-P

in the Underlying Litigation, such that Travelers must reimburse Utica all or a portion of the total

amount expended by Utica on behalf of B-P.


                                            PARTIES

          2.   Utica is a New York corporation with a principal place of business in Utica, New

York, and at all times relevant was authorized to transact, and did transact, business in New

Jersey.

          3.   Travelers is a Connecticut corporation with a principal place of business in

Hartford, Connecticut, and at all times relevant was authorized to transact, and did transact,

business in New Jersey.


                                 JURISDICTION AND VENUE

          4.   This Court has diversity jurisdiction because the parties are “citizens” of different

states, and the amount in controversy exceeds $75,000.

          5.   Venue in this Court is proper because a substantial part of the events or omissions

giving rise to Utica’s claims occurred in the State of New Jersey, where each party issued a

policy of insurance to B-P, and because B-P is a corporation of the State of New Jersey.


                          ALLEGATIONS COMMON TO ALL COUNTS

                                    The Policies of Insurance

          6.   Utica issued to B-P a claims-made policy of professional liability insurance,

policy number 3735507 EO, for the policy period January 1, 2013 to January 1, 2014. (“Utica

                                                 2
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 3 of 16 PageID: 3




Policy”). The Utica Policy provided limits of $5,000,000 per loss, and $6,000,000 in the

aggregate. A true copy of the Utica Policy is attached at Exhibit 1.

       7.      Travelers issued to B-P an occurrence based “Office PAC” policy of insurance,

policy number 680-6C420563-13-42, for the policy period January 1, 2013 to January 1, 2014.

(“Travelers Primary Policy”). The commercial general liability section of the Travelers Primary

Policy provided limits for personal injury of $1,000,000 per occurrence, and $2,000,000 in the

aggregate. A true copy of the commercial general liability portion of Travelers Primary Policy,

including all common policy provisions, is attached at Exhibit 2.

       8.      Travelers also issued to B-P an occurrence based umbrella policy of insurance,

policy number CUP-6C424875-13-42, for the policy period January 1, 2013 to January 1, 2014.

(“Travelers Umbrella Policy”). The Travelers Umbrella Policy provided limits for personal

injury of $4,000,000 per occurrence and in the aggregate. A true copy of the Travelers Umbrella

Policy is attached at Exhibit 3.

       9.      The Travelers Primary Policy and Travelers Umbrella Policies are hereinafter

referred to collectively as the “Travelers Policies.”

              The Underlying Litigation Against The Parties’ Common Insured, B-P

       10.     On May 31, 2013, Orchestrate HR, Inc. (“Orchestrate”) filed the initial complaint

in the Underlying Litigation against B-P and B-P’s employee, Anthony L. Trombetta, in Texas

state court (“Complaint”). A true copy of the Complaint is attached at Exhibit 4. On June 5,

2013, the Underlying Litigation was removed to the United States District Court for the Northern

District of Texas, and assigned Civil Action Number 3:13-cv-02110.




                                                  3
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 4 of 16 PageID: 4




        11.     The Complaint alleged that Mr. Trombetta worked for Orchestrate through April

8, 2013, at which time he terminated his employment and began working in Pennsylvania for B-

P, which “provides insurance products to the same target market as Orchestrate.” (Exhibit 4, ¶¶

2, 23-24).

                 The Defamation Claim Against B-P in the Underlying Litigation

        12.     The Complaint included a section concerning Orchestrate’s allegation that B-P

and Mr. Trombetta defamed Orchestrate. That fact section was set-off by a caption titled: “BP

and Trombetta defame Orchestrate to its most important clients, attacking Orchestrate’s integrity

and credibility.” (Exhibit 3, p. 11).

        13.     The Complaint alleged that Mr. Trombetta and B-P, during the six months prior to

filing, “engaged in a concerted effort to defame Orchestrate to its client base, targeting

Orchestrate’s most important clients.” (Exhibit 4, ¶ 33).

        14.     The Complaint alleged that B-P and Mr. Trombetta, in order to solicit

Orchestrate’s clients, “communicated a variety of false and misleading statement to numerous

universities [that] Orchestrate services . . .” (Exhibit 4, ¶ 34). The alleged false and misleading

statements included: “(1) Orchestrate is not timely processing insurance claims; (2) Orchestrate

is not providing the discounts it is promising; (3) Orchestrate is using incorrect insurance forms;

and (4) insurers are not ‘allowed’ to use Orchestrate.” (Exhibit 4, ¶ 35).

        15.     The Complaint further alleged: “Defendants’ defamatory accusations of

Orchestrate to its client base have the immediate effect of destroying Orchestrate’s reputation,

goodwill, and customer confidence, as Orchestrate’s business relationships may be permanently

damaged.” (Exhibit 4, ¶ 38).


                                                  4
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 5 of 16 PageID: 5




        16.      The Complaint did not allege that B-P or Mr. Trombetta defamed Orchestrate in

the course of providing professional services.

        17.      The Complaint, at Count “E,” asserted a defamation claim against B-P and Mr.

Trombetta based on the foregoing factual allegations. (Exhibit 4, ¶ 54).

        18.      Orchestrate subsequently amended the Complaint in the Underlying Action. A

true copy of the Third Amended Complaint, which was the final operative complaint, is attached

at Exhibit 5. In the Third Amended Complaint, Orchestrate’s affiliate, Vivature, Inc.

(“Vivature”) joined as a plaintiff. Also in the Third Amended Complaint, Orchestrate and

Vivature added as defendants two additional B-P employees, Kelly Myers and Dave Icenhower,

who were alleged to reside in New Jersey. (Exhibit 5, ¶¶ 5-6)..

        19.      In the Third Amended Complaint, Orchestrate and Vivature asserted a defamation

claim against B-P, Mr. Trombetta, Mr. Myers, and Mr. Icenhower. 1 The factual allegations

concerning the defamation claim in the Third Amended Complaint were identical to the factual

allegations in the Complaint, detailed above. The Third Amended Complaint, like the Complaint,

did not allege that the defendants defamed Orchestrate in the course of providing professional

services. Rather, the Third-Amended Complaint alleged that the purpose of the allegedly

defamatory statements was to solicit Orchestrate’s “most important clients.” (Exhibit 5, ¶ 38).

              The Defamation Claim Represented a Significant Risk of Loss to Travelers




1
  The Third-Amended Complaint, like the Complaint, included many causes of action that were not covered by the
Utica Policy, including claims for breach of a confidentiality agreement against Mr. Trombetta, breach of a non-
compete agreement against Mr. Trombetta, tortious interference with contract against all defendants, tortious
interference with prospective business relations against all defendants, unfair competition against B-P, and fraud
against B-P and Mr. Myers. Exhibit 5, pp. 14-19.


                                                         5
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 6 of 16 PageID: 6




       20.     On June 3, 2013, B-P timely notified Travelers of Orchestrate’s allegations in the

Underlying Litigation, and provided Travelers with a copy of the Complaint.

       21.     The Travelers Primary Policy expressly provided that it was primary insurance,

even if other valid and collectible insurance was available to B-P. The Utica Policy, by contrast,

expressly provided that it was excess insurance in the event other valid and collectible insurance

was available to B-P. Thus, if Travelers acknowledged that the Travelers Primary Policy

provided coverage for the Underlying Litigation, Travelers was at risk of paying the entirety of

the defense costs incurred in the Underlying Litigation.

       22.     The defamation claim asserted in the Underlying Litigation constituted multiple

occurrences. Thus, if Travelers acknowledged that the Travelers Primary Policy provided

coverage for the Underlying Litigation, Travelers was at risk of paying out the $2,000,000

aggregate limits in the Travelers Primary Policy, and potentially an additional amount under the

Travelers Umbrella Policy.

                             Travelers Wrongfully Denied Coverage

       23.     The commercial general liability section of the Travelers Primary Policy

contained a “Coverage B” insuring agreement, providing in relevant part as follows.

               COVERAGE B PERSONAL AND ADVERTISING INJURY
               LIABILITY

               1.     Insuring Agreement.

                      a.      We will pay those sums that the insured becomes
                              legally obligated to pay as damages because of
                              “personal and advertising injury” to which this
                              insurance applies. We will have the right and duty
                              to defend the insured against any “suit” seeking
                              those damages. . . .


                                                 6
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 7 of 16 PageID: 7




       24.     The Travelers Primary Policy, in an endorsement, amended “personal and

advertising injury” to mean “personal injury” or “advertising injury.”

       25.     The Travelers Umbrella Policy similarly provided coverage for “personal injury.”

       26.     The Travelers Policies defined the term “personal injury” identically, and in

relevant part, as follows:

               [I]njury, other than ‘advertising injury’, caused by one or more of
               the following offenses: . . .

               (4)     Oral or written publication by electronic means, of material
                       that slanders or libels a person or organization or
                       disparages a person’s or organization’s goods, products or
                       services, provided that the claim is made or ‘suit’ is
                       brought by a person or organization that claims to have
                       been slandered or libeled, or that claims to have had its
                       goods, products or services disparaged . . .


       27.     The defamation claim asserted in the Underlying Litigation constituted an alleged

“personal injury” as that term is defined by the Travelers Policies. Moreover, the actions or

“occurrences” that formed the basis of the defamation claim took place during the policy period

covered by the Travelers Policies.

       28.     On June 24, 2013, Travelers wrongfully denied coverage for the Underlying

Litigation, refusing to provide a defense or indemnity. A true copy of Travelers’ denial of

coverage, sent to B-P’s place of business in New Jersey, is attached at Exhibit 6.

       29.     Travelers denied coverage principally on the ground that the “Financial

Professional Services Exclusion” in the Travelers Policies applied.

       30.     The Travelers Policies each contained an identical “Financial Professional

Services Exclusion,” added by an endorsement, and providing in relevant part as follows.


                                                 7
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 8 of 16 PageID: 8




                2.      The following exclusion is added to Paragraph 2.,
                        Exclusions, of SECTION I – COVERAGES –
                        COVERAGE B PERSONAL AND ADVERTISING
                        INJURY LIABILITY:
                        Financial Professional Services
                        “Personal injury” or “advertising injury” arising out of
                        providing or failing to provide “financial professional
                        services” by any insured to others.

Thus with the endorsement, the Travelers Policies provided: “This insurance does not apply to: .

. . ‘Personal injury’ . . . arising out of providing or failing to provide ‘financial professional

services’ by any insured to others.”

        31.     The Travelers Policies defined “financial professional services” in relevant part as

follows.

                “Financial professional services” includes any of the following
                professional services:
                ...
                k.      With respect to any contract or treaty of insurance . . .,
                        including any application, receipt or binder:
                        (1)     Assuming any obligation;
                        (2)     Discharging any obligation or duty, contractual or
                                otherwise;
                        (3)     Advising, inspecting, reporting or making any
                                recommendation;
                        (4)     Effecting coverage; or
                        (5)     Investigating, defending, handling, adjusting or
                                settling any claim or “suit”;

        32.     The denial of coverage by Travelers was wrongful because the Financial

Professional Services Exclusion did not apply to the defamation claim. Orchestrate did not assert

that the alleged defamation arose out of B-P’s “providing . . . professional services . . . to others,”

or that B-P defamed Orchestrate “[w]ith respect to any contract or treaty of insurance.” Rather,



                                                   8
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 9 of 16 PageID: 9




Orchestrate alleged that B-P defamed it in an attempt to solicit business – i.e., to “target

Orchestrate’s most important clients.” (Exhibit 4, ¶ 33).

       33.       The Financial Professional Services Exclusion also did not apply because

Orchestrate in the Underlying Litigation did not allege that B-P defamed Orchestrate with

respect to “any application, receipt or binder” of insurance.

       34.       The Financial Professional Services Exclusion also did not apply because

Orchestrate did not allege that B-P defamed it in the course of B-P’s: “(1) Assuming any

obligation; (2) Discharging any obligation or duty, contractual or otherwise; (3) Advising,

inspecting, reporting or making any recommendation; (4) Effecting coverage; or (5)

Investigating, defending, handling, adjusting or settling any claim or ‘suit’.”

       35.       After Travelers wrongfully denied coverage, it declined to provide B-P with a

defense, or to have any other involvement with the Underlying Litigation.

                       Utica Provided Coverage and Put Travelers on Notice

       36.       Utica provided B-P and its employees with a defense, and incurred significant

defense costs.

       37.       On February 1, 2017, Utica through its counsel notified Travelers that the trial of

the Underlying Litigation was scheduled to begin on February 6, 2017. A true copy of the

correspondence is attached at Exhibit 7.

       38.       Utica in its correspondence advised Travelers that it had reviewed Travelers’

denial of coverage to B-P for the Underlying Litigation, and that the denial of coverage was

wrongful. Utica cited to a decision issued in a different case, involving an affiliated Travelers

company, wherein the United States District Court for the District of Maryland determined the

                                                  9
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 10 of 16 PageID: 10




identical Financial Professional Services Exclusion did not apply to similar facts alleged in the

Underlying Litigation, and concluded that indeed Travelers had breached its duty to defend its

insured. (Exhibit 7, citing Warfield-Dorsey Co., Inc. v. Travelers Casualty & Sur. Co. of Illinois,

66 F.Supp.2d 681 (D.Md. 1999)).

       39.     Utica in its correspondence to Travelers advised that Utica had incurred

significant attorneys’ fees and costs in the defense of B-P in the Underlying Litigation, and that it

faced the possibility of having to indemnify B-P. Utica further asserted that the expenses and

costs that had been, and would be, incurred on behalf of B-P in connection with the Underlying

Litigation should be shared by Travelers.

       40.     On or about February 6, 2017, Utica and B-P settled the Underlying Litigation. As

part of that settlement, Utica made a significant indemnity payment in exchange for the dismissal

and release of all claims against B-P in the Underlying Litigation. On or about March 3, 2017,

Utica through its counsel notified Travelers that the Underlying Litigation had settled.

       41.     On or about April 11, 2017, Travelers again denied coverage for the claims

against B-P under the Travelers Policies, and refused to make any reimbursement to Utica.

(Exhibit 8).

                                 B-P Assigned Its Rights To Utica

       42.     Utica and B-P, effective April 5, 2017, entered into an agreement that, among

other things, assigned B-P’s rights under the Travelers Policies to Utica (“Assignment”). The

Assignment provides in relevant part as follows.

               . . . [T]he BP Parties hereby assign and transfer to Utica all of their
               right, title, and interest in and under the Travelers Primary Policy
               and the Travelers Umbrella Policy to any claims or rights with
               respect to Travelers’ duty to defend and/or indemnify the BP
                                                 10
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 11 of 16 PageID: 11




               Parties in the [Underlying Litigation], including without limitation
               all rights of the BP Parties to a defense (including reimbursement
               of attorneys’ fees and related litigation expenses) and indemnity
               ...

                                         COUNT ONE
                                      Declaratory Judgment

         43.   Utica incorporates by reference the allegations contained above in paragraphs 1

through 42 as though fully set forth herein.

         44.   An actual case or controversy exists as to whether the Travelers Policies provided

coverage to B-P for defense and/or indemnity in the Underlying Litigation, as to whether

Travelers is required to reimburse Utica all or a portion of the sums expended by Utica on behalf

of B-P in the Underlying Litigation, and the amount that Travelers is required to reimburse

Utica.

         45.   Utica is entitled to a judgment declaring that the Travelers Policies provided

coverage, including without limitation both defense and indemnity, for B-P in the Underlying

Litigation, that Travelers is required to reimburse Utica all or a portion of the sums expended by

Utica on behalf of B-P in the Underlying Litigation, and the amount that Travelers is required to

reimburse Utica.


                                         COUNT TWO
                                        Breach of Contract

         46.   Utica incorporates by reference the allegations contained above in paragraphs 1

through 42 as though fully set forth herein.

         47.   The Travelers Policies were binding contracts.




                                                11
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 12 of 16 PageID: 12




       48.       The Travelers Policies were issued by Travelers in exchange for valuable

consideration.

       49.       B-P performed all obligations required of it under the Travelers Policies.

       50.       Travelers’ failure to provide B-P with a defense and indemnity of the Underlying

Litigation constitutes a breach of the Travelers Policies, including but not limited to a breach of

the covenant of good faith and fair dealing.

       51.       As a result of Travelers’ breach of the Travelers Policies, B-P has suffered harm

in an amount to be proven at trial.

       52.       As B-P’s assignee, Utica is entitled to recover from Travelers for all damages

incurred by B-P as a result of Travelers’ breach of the Travelers Policies.


                                         COUNT THREE
                                       Equitable Contribution

       53.       Utica incorporates by reference the allegations contained above in paragraphs 1

through 42 as though fully set forth herein.

       54.       Utica and Travelers were co-insurers of B-P.

       55.       The Utica Policy and Travelers Policies provided coverage for the defamation

claims against B-P in the Underlying Litigation.

       56.       Utica provided B-P with a defense and indemnity of the Underlying Litigation,

but Travelers did not.

       57.       Utica paid a disproportionate share of the defense and indemnity costs incurred in

the Underlying Litigation.



                                                  12
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 13 of 16 PageID: 13




         58.   Travelers’ failure to pay its share of the defense and indemnity costs incurred in

the Underlying Litigation is inequitable, and has caused Utica harm in an amount to be proven at

trial.


                                        COUNT FOUR
                                     Contractual Subrogation

         59.   Utica incorporates by reference the allegations contained above in paragraphs 1

through 42 as though fully set forth herein.

         60.   The Utica Policy contains a contractual right of subrogation of recovery from B-P

to Utica, as follows.

               4.       Transfer Of Rights Of Recovery Against Others To Us
                        If the insured has rights to recover all or part of any
                        payment we have made under this policy, those rights are
                        transferred to us. The insured must do nothing after a
                        “wrongful act” to prejudice such rights. At our request, the
                        insured will bring “suit” or transfer those rights to us and
                        help us enforce them. Any amounts recovered will be
                        applied to reduce the amount we paid for “loss” and
                        expense (after application of the deductible) before being
                        applied to reduce your deductible.

         61.   Travelers wrongfully refused to provide B-P with a defense or indemnity in the

Underlying Litigation, thereby harming B-P and increasing the defense and indemnity payments

made by Utica.

         62.   B-P has the right to recover from Travelers all or a portion of the payments Utica

made under the Utica Policy.

         63.   Pursuant to the contractual right of subrogation set forth in the Utica Policy, B-P’s

right to recover from Travelers all or a portion of the payments Utica made under the Utica

Policy have been transferred to Utica.

                                                13
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 14 of 16 PageID: 14




       64.     As B-P’s subrogee, Utica is entitled to recover from Travelers all or a portion of

the payments Utica made under the Utica Policy.

                                         COUNT FIVE
                                      Equitable Subrogation

       65.     Utica incorporates by reference the allegations contained above in paragraphs 1

through 42 as though fully set forth herein.

       66.     Utica paid a debt for which Travelers was primarily liable.

       67.     Utica’s payment of the debt of Travelers was made involuntarily.

       68.     Utica’s payment of a debt for which Travelers primarily was liable, and

Travelers’ failure to reimburse Utica all or a portion of the payment Utica made, is inequitable.

                                          COUNT SIX
                                        Unjust Enrichment

       69.     Utica incorporates by reference the allegations contained above in paragraphs 1

through 42 as though fully set forth herein.

       70.     Travelers has been unjustly enriched by having received and retained the benefit

of Utica’s payment of a debt for which Travelers was liable.

       WHEREFORE, Republic Franklin Insurance Company demands judgment against

Travelers Casualty Insurance Company of America, as follows:

       (a)     Entry of judgment on Count One as follows: “It is hereby DECLARED and

ADJUDGED that Travelers Casualty Insurance Company of America Policy, under Policy No.

680-6C420563-13-42 and Policy No. CUP-6C424875-13-42, owed a duty to defend and

indemnify Borden-Perlman Insurance Agency, Inc. in and from the defamation claim asserted

against it by Orchestrate HR, Inc. and/or Vivature, Inc. in that action originally known as
                                                14
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 15 of 16 PageID: 15




Orchestrate HR, Inc. v. The Borden-Perlman Insurance Agency, Inc., et al., 192nd Judicial

District, Dallas County, Texas, Civil Action No. DC13-05990, and after removal known as

Orchestrate HR, Inc., et al. v. The Borden-Perlman Insurance Agency, Inc., U.S. District Court,

Northern District of Texas, 3:13-cv-02110”;

       (b)     Entry of judgment on Count One declaring that Travelers is required to reimburse

Utica all or a portion of the sums expended on behalf of B-P in the Underlying Litigation, and

setting forth the amount of said reimbursement owed;

       (c)     Entry of judgment on Count Two awarding Utica, as assignee of B-P, monetary

damages incurred as a result of Travelers’ breach of the Travelers Policies;

       (d)     Entry of judgment on Count Three awarding Utica monetary damages it incurred

as a result of its paying a disproportionate share of the defense and/or indemnity costs on behalf

of B-P in the Underlying Action;

       (e)     Entry of judgment on Count Four awarding Utica, as subrogee of B-P, monetary

damages incurred as a result of Travelers’ failure to pay its share of the defense and/or indemnity

costs incurred on behalf of B-P in the Underlying Action;

       (f)     Entry of judgment on Count Five awarding Utica monetary damages it incurred as

a result of its paying a disproportionate share of the defense and/or indemnity costs on behalf of

B-P in the Underlying Action;

       (g)     Entry of judgment on Count Six awarding Utica monetary damages it incurred

which unjustly enriched Travelers by and to the extent of Utica’s payment of debts which were

justly due from Travelers;




                                                15
Case 2:17-cv-04593-WJM-MAH Document 1 Filed 06/22/17 Page 16 of 16 PageID: 16




       (h)     Pursuant to applicable law, award Utica its attorneys’ fees incurred herein to

establish coverage under the Travelers Policies;

       (h)     Award Utica pre-judgment and post-judgment interest;

       (i)     Award Utica its costs and expenses; and

       (i)     Such other relief as is just and appropriate.

Dated: June 22, 2017

                                             REPUBLIC FRANKLIN INSURANCE CO.,
                                             By its attorneys,

                                             /s/ Steven A. Weiner
                                             ______________________________________
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                                                 16
